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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

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                                                              :
In re:                                                        : Chapter 11
                                                              :
                                                                Case No. 22-50073 (JAM)
HO WAN KWOK, et al.,                                          :
                                                              : Jointly Administered
                  Debtors.1                                   :
                                                              : Re: ECF No. 2933
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     ORDER GRANTING SECOND INTERIM FEE APPLICATION OF HARNEY
    WESTWOOD & RIEGELS LP, AS BRITISH VIRGIN ISLANDS COUNSEL, FOR
     COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PERIOD
           ~FROM AUGUST 1, 2023 THROUGH DECEMBER 31, 2023

        Upon consideration of the Application (the “Application”) of Harney Westwood &

Riegels (“Harneys”) as BVI2 counsel to the Trustee and Genever (BVI) for interim allowance of

compensation and reimbursement of expenses from August 1, 2023 through December 31, 2023;

and sufficient notice having been given; and a hearing having been held on March 19, 2024 and

due consideration having been given to any responses thereto; and sufficient cause having been

shown therefor, it is hereby:

        1.       ORDERED that the Application is granted and compensation in the amount of

$101,597.00 and reimbursement of expenses in the amount of $1,825.00 are awarded to Harneys,

subject to final adjustment and disgorgement in the event all administrative expenses are not paid

in full; it is further


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
    Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
    Wan Kwok (solely for purposes of notices and communications).
2
    Capitalized terms not otherwise defined herein adopt the definitions set forth in the Application.
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       2.      ORDERED that nothing herein modified the Retention Order; it is further

       3.      ORDERED that the estates are authorized and directed to pay Harneys’ fees in the

amount of $103,422.00 within fourteen days of the date of this Order; it is further

       4.      ORDERED that this Court shall retain jurisdiction to hear and determine all

matters arising from the implementation of this Order; it is further

       5.      ORDERED that the Debtors’ estates and Harneys are authorized and empowered

to take all necessary actions to implement the relief granted in this Order; it is further

       6.      ORDERED that notwithstanding the possible applicability of Bankruptcy Rules

6006(d), 7062, 9014, or otherwise, the terms and conditions of this Order shall be immediately

effective and enforceable upon its entry; and it is further

       7.      ORDERED that all time periods set forth in this Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).



              Dated at Bridgeport, Connecticut this 20th day of March, 2024.
